

People v Cato (2021 NY Slip Op 07480)





People v Cato


2021 NY Slip Op 07480


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Dec. 23, 2021.) 


MOTION NO. (759/03) KA 01-02204.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, PLAINTIFF-RESPONDENT, 
vJASON CATO, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








